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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, 4:16-cr-l42-RGE-HCA
Plaintiff(s),
vs.

JOSE MANUEAL CANO BASURTO,

 

Defendant(s).
REPORT AND RECOMMENDATION CONCERNING PLEA ()F GUILTY

The United States of America and the Defendant, having both filed a written consent,
appeared before me pursuant to Rule l l, Fed. R. Crim. P. and L. Cr. R. ll. The Det`endant entered
a plea of guilty to Cou.nt(s) 5 of the Indictment. After cautioning and examining the Defendant
under oath concerning each of the subjects mentioned in Rule ll, l determined that the guilty
plea(s) Was/Were knowing and voluntary as to each count, and that the offense(s) charged is/are
Supported by an independent factual basis concerning each of the essential elements of such
offense(s). Defendant understands and agrees to be bound by the terms of the plea agreement I,
therefore, recommend that the plea(s) of guilty be accepted, that a pre-sentence investigation and
report be prepared, and that the Defendant be adjudged guilty and have sentence imposed

accordingly

Date:B n 369 `::l@i#ff _ \_/§AQ`Q,V\ Q. ">§0`7»

HELEN C. ADAMS
CHIEF U.S. MAGISTRATE JUDGE

 

 

NOTICE

Failure to file Written objections to this Report and Recornmendation Within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 63 6(b)(1)(B).

 

 

